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AO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                              IN THE UNITED STATES DISTRICT COURT
                                                  FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                                                 )            8:03CR163
           Plaintiff,                                                     )
                                                                          )
v.                                                                        )   USM No: 12040-047
                                                                          )
JEFFREY SCOTT LEISURE                                                     )   JULIE B. HANSEN
                Defendant.                                                )   Defendant’s Attorney
Date of previous judgment: 8/30/2005                                      )

            Order Regarding Unopposed Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon the unopposed motion of the defendant under 18 U.S.C. § 3582(c)(2) for a reduction in the term of
imprisonment imposed based on a guideline sentencing range that has subsequently been lowered and made retroactive
by the United States Sentencing Commission pursuant to 28 U.S.C. § 994(u), and having considered such motion,

IT IS ORDERED that the motion is GRANTED and the defendant’s previously imposed sentence of imprisonment (as
reflected in the last judgment issued) of 146 months is reduced to 117 months.

I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
     Previous Offense Level:    37                                      Amended Offense Level:       35
     Criminal History Category: IV                                      Criminal History Category:   IV
     Previous Guideline Range: 292              to 365         months   Amended Guideline Range:     235   to 293   months

II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
        The reduced sentence is within the amended guideline range.
       The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the
        time of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less
        than the amended guideline range.

        Other (explain):

III. ADDITIONAL COMMENTS

Except as provided above, all provisions of the judgment dated August 30, 2005 shall remain in effect.
IT IS SO ORDERED.

Dated this 23rd day of June, 2008
Effective Date: Monday, July 7, 2008

                                                               s/ Laurie Smith Camp
                                                               United States District Judge
